              Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 1 of 11




 1
 2
 3
 4
 5
 6
 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                           NO. MJ22- 137
11
                                Plaintiff,                COMPLAINT FOR VIOLATIONS
12
                                                          18 U.S.C. § 922(g)(8)
13                         v.
14
      RUSTAM YUSUPOV,
15
                                Defendant.
16
17
18 BEFORE, Paula L. McCandlis, United States Magistrate Judge, Seattle, Washington.
19                                              COUNT 1
20                                  (Unlawful Possession of a Firearm)
21                                            (Hotel room)
22          On or about March 10, 2022, in King County, within the Western District of
23 Washington, RUSTAM YUSUPOV, knowing he was subject to a court order meeting the
24 requirements of Title 18, United States Code, Section 922(g)(8)(A)-(C), that is, the Order
25 For Protection issued on March 16, 2020, and renewed on May 13, 2021, in the matter of
26 Yasmeen Judeh vs. Rustam Yusupov, in King County Superior Court case number 20-2-
27 02283-7, did knowingly possess, in and affecting interstate and foreign commerce,
28 firearms, to wit: a Polymer80 9mm caliber pistol with no serial number; and a North
     United States v. Yusupov                                             UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE5220
     USAO# 2022R00387
                                                                           SEATTLE, WASHINGTON 98101
     Complaint - 1                                                                (206) 553-7970
              Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 2 of 11




 1 American Arms Corp. Derringer .22 revolver, which had been shipped and transported in
 2 interstate and foreign commerce.
 3          All in violation of Title 18, United States Code, Section 922(g)(8).
 4                                           COUNT 2
 5                              (Unlawful Possession of a Firearm)
 6                                           (Vehicle)
 7          On or about March 10, 2022, in King County, within the Western District of
 8 Washington, RUSTAM YUSUPOV, knowing he was subject to a court order meeting the
 9 requirements of Title 18, United States Code, Section 922(g)(8)(A)-(C), that is, the Order
10 For Protection issued on March 16, 2020, and renewed on May 13, 2021, in the matter of
11 Yasmeen Judeh vs. Rustam Yusupov, in King County Superior Court case number 20-2-
12 02283-7, did knowingly possess, in and affecting interstate and foreign commerce,
13 firearms, to wit: a Polymer80 9mm caliber pistol with no serial number and a
14 skeletonized AR-15 5.56 NATO caliber pistol with no serial number; and
15      • FMK Firearms Model AR-1 Extreme 5.56 NATO caliber rifle;
16      • Aero Precision Model X15 5.56 NATO caliber rifle;
17      • Ruger Model 5.7 5.7x28mm caliber pistol;
18      • Ruger Model 18029 Precision 6.5mm Creedmoor/.308 Winchester caliber rifle; and
19      • Kel-Tec Model Sub 2000 9x19mm caliber rifle;
20 all of which had been shipped and transported in interstate and foreign commerce.
21         All in violation of Title 18, United States Code, Section 922(g)(8).
22          This complaint is to be presented by reliable electronic means pursuant to Federal
23 Rules of Criminal Procedure 4.1 and 41(d)(3).
24        The undersigned complainant, Catherine Cole, being duly sworn, further deposes
25 and states as follows:
26 //
27 //
28
     United States v. Yusupov                                             UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE5220
     USAO# 2022R00387
                                                                           SEATTLE, WASHINGTON 98101
     Complaint - 2                                                                (206) 553-7970
              Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 3 of 11




 1                                      INTRODUCTION
 2          I am a Special Agent (SA) with the United States Department of Justice (DOJ),
 3 Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF), and have been so
 4 employed since 2013. I am an “investigative or law enforcement officer of the United
 5 States” within the meaning of Title 18, United States Code, Section 2510(7), that is, an
 6 officer of the United States who is empowered by law to conduct investigations of, and to
 7 make arrests for, offenses enumerated in Title 18, United States Code, Section 2516. I am
 8 currently assigned to the Seattle Group V Field Office where I am further assigned to the
 9 Puget Sound Regional Crime Gun Task Force (PSRCGTF).
10          I am a graduate of the Federal Law Enforcement Training Center, Criminal
11 Investigator Training Program, and the ATF National Academy, both in Glynco, Georgia.
12 During this 27-week training, I received instruction relating to the investigation of
13 firearm and explosives violations. Following this training, I received one year of on-the-
14 job training in the field. Prior to this employment, I obtained bachelors’ degrees in
15 Political Science with a concentration on international relations and French from Tulane
16 University in New Orleans, Louisiana, and a master’s degree in Natural Resources Law
17 Studies from the University of Denver College of Law in Denver, Colorado. During my
18 career with ATF, I have had training and experience investigating violent crimes against
19 persons and crimes against the government. I have been involved in numerous
20 investigations involving the unlawful purchase and/or unlawful possession of firearms
21 and explosives. I have also participated in and executed search and seizure warrants with
22 respect to the illegal possession of firearms and explosives.
23          This affidavit is made based upon my personal knowledge, training, experience,
24 and investigation, as well as upon information provided to me and my review of reports
25 prepared by other law enforcement personnel. This affidavit is made for the purpose of
26 establishing probable cause for this Complaint and thus does not include every fact
27 known to me concerning this investigation.
28
     United States v. Yusupov                                            UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE5220
     USAO# 2022R00387
                                                                          SEATTLE, WASHINGTON 98101
     Complaint - 3                                                               (206) 553-7970
              Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 4 of 11




 1                              SUMMARY OF PROBABLE CAUSE
 2      A. SPD Officers Respond to a Crisis Call at the Westin Hotel.
 3          On March 10, 2022, at 1:16 a.m., Seattle Police Department (SPD) officers
 4 responded to the Westin Hotel, located at 1900 5th Avenue in Seattle. The officers were
 5 responding to a crisis call placed by the hotel’s manager, M.H., concerning one of the
 6 guests at the hotel (later identified as Rustam Yusupov). The 911 dispatch for the call
 7 informed the officers: “MALE IN CRISIS TEARING UP ROOM, REQ MANAGER TO
 8 CALL FOR OFCS, NO WPNS SEEN.”
 9          When the officers arrived at the hotel, they spoke to M.H. M.H. explained that he
10 had interacted with Yusupov earlier in the evening and Yusupov appeared to be in some
11 state of crisis or intoxication. M.H. described Yusupov as being “twitchy” and not
12 observing personal space. According to M.H., after Yusupov checked in, he called the
13 front desk twice that night: once to say that there was an “unknown person” in his room
14 and again to say that there was an unknown child in his bed. M.H., along with the hotel
15 emergency response team, went to Yusupov’s room and found that the room was in a
16 state of disarray. M.H. observed Yusupov destroying the inside of the room by flipping
17 over the mattresses, cutting holes in the box springs, and otherwise damaging hotel
18 property. M.H. eventually left the room and called 911. M.H. told the officers that
19 Yusupov asked him to call police to assist; Yusupov claimed there was a small child in
20 the room and he needed help. However, M.H. did not see a child in the room.
21          M.H. escorted the officers to Yusupov’s room (#2933), which is on the 29th floor
22 overlooking the 1900 block of Fifth Avenue in downtown Seattle. The door to the room
23 was propped open by the locking bar. The officers pushed open the door and saw
24 Yusupov standing inside. To make entry into the room, Officer Corcoran had to push
25 past a mattress that was propped up against the door. Upon observing Yusupov, it
26 appeared to Ofc. Corcoran that he was in a state of intoxication and/or crisis. Yusupov
27 was sweating profusely and was extremely restless. Yusupov immediately told Ofc.
28
     United States v. Yusupov                                           UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE5220
     USAO# 2022R00387
                                                                         SEATTLE, WASHINGTON 98101
     Complaint - 4                                                              (206) 553-7970
                Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 5 of 11




 1 Corcoran that there was a child in the room, underneath the mattress that was leaning
 2 against the door. Ofc. Corcoran explained that he would search for the child and provide
 3 any assistance that he could. He asked Yusupov to step outside the room and into the
 4 hallway, which Yusupov agreed to do. At that time, officers performed a frisk of
 5 Yusupov’s person for officer safety and found no weapons. They asked Yusupov to sit
 6 down in the hallway, and he again complied with the request.
 7            The officers observed that Yusupov continued to be extremely restless and was
 8 sweating profusely, wiping sweat from his brow so often that he apologized to the
 9 officers for sweating so much. Yusupov explained that he had not slept in three days (he
10 later stated it had been two weeks since he slept). Yusupov said that he had been living
11 in a newly constructed building and began hearing the footsteps of children on the ceiling
12 and in the walls around him. Yusupov stated that he rented the hotel room at the Westin
13 to get away from the sounds of children’s footsteps and to get some sleep. However, he
14 explained that when he checked into the room, there was a child in the room with him.
15 According to Yusupov, this was distressful and was why he destroyed the room.
16 Yusupov further explained that the child was the child of a man who did not like him, but
17 did not offer additional details. Multiple times during the conversation with the officers,
18 Yusupov said words to the effect, “Didn’t you see that shadow?” as if to suggest the child
19 had just walked by without the officers noticing. Yusupov also repeatedly asked the
20 officers to look under the long side the mattress to make sure the child was not under it.
21       B. Officers Discover a Firearm in Yusupov’s Hotel Room.
22            At this time, the officers had no reason to suspect any criminal activity, but they
23 were concerned for Yusupov’s well-being. Considering Yusupov’s agitated state, his
24 statements, and his overall behavior, the officers decided to take Yusupov to the hospital
25 for a mental health evaluation under the Involuntary Treatment Act 1 (ITA). The officers
26
27   1
      Under the Involuntary Treatment Act (RCW 71.05.153), a law enforcement officer may take or cause a person to
     be taken into custody and immediately delivered to a psychiatric hospital or inpatient mental health treatment center
28   for evaluation and treatment when the officer has reasonable cause to believe that such person is suffering from a
      United States v. Yusupov                                                                UNITED STATES ATTORNEY
                                                                                              700 STEWART STREET, SUITE5220
      USAO# 2022R00387
                                                                                               SEATTLE, WASHINGTON 98101
      Complaint - 5                                                                                   (206) 553-7970
                Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 6 of 11




 1 asked Yusupov whether he was on any medication. Yusupov replied that he had
 2 prescription medication in his hotel room for anxiety. Based on the officers’ training and
 3 experience, they suspected that there may be other substances affecting Yusupov’s
 4 demeanor besides anxiety medication. While some officers remained in the hallway with
 5 Yusupov, other officers entered the hotel room to look for additional medications,
 6 narcotics, or other hazardous materials that would help them and the hospital staff
 7 understand the cause of Yusupov’s agitated state. The officers took these actions as part
 8 of their community care function to assist Yusupov and his upcoming mental
 9 health/medical evaluation.
10           While looking through the hotel room, Officer Rothwell found a bag containing a
11 few prescription medication bottles in Yusupov’s name. Officer Rothwell provided the
12 medications to the emergency medical services team that later arrived to transport
13 Yusupov to the hospital (as referenced below).
14           Officers also located Yusupov’s Washington State driver’s license and a loaded
15 firearm underneath a jacket in an open drawer inside an open closet. The firearm was
16 later identified as a Polymer80 9mm caliber pistol with no serial number (commonly
17 referred to as privately manufactured “ghost gun”). Officers asked Yusupov about the
18 firearm. He replied that he owned multiple firearms and was a competitive shooter.
19           The officers ran Yusupov’s name over the SPD data channel. At that point, they
20 learned he was the subject of a pending Domestic Violence Protection Order, making him
21 a prohibited person from possessing firearms. The officers asked Yusupov about the
22 Protection Order, and he acknowledged that his Concealed Pistol License had been
23 revoked because his ex-wife obtained a court order against him.
24           The officers mistakenly believed that Yusupov’s possession of a firearm was a
25 misdemeanor offense instead of a felony. With that understanding, the officers elected
26
27   behavioral health disorder and presents an imminent likelihood of serious harm or is in imminent danger because of
     being gravely disabled.
28
      United States v. Yusupov                                                             UNITED STATES ATTORNEY
                                                                                           700 STEWART STREET, SUITE5220
      USAO# 2022R00387
                                                                                            SEATTLE, WASHINGTON 98101
      Complaint - 6                                                                                (206) 553-7970
                Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 7 of 11




 1 not to arrest Yusupov for the offense, but rather to follow through with the mental health
 2 referral under the Involuntary Treatment Act. 2
 3            Officers called for emergency medical services and an American Medical
 4 Response (AMR) ambulance arrived. Ofc. Corcoran assisted in placing Yusupov on the
 5 gurney in the hallway of the hotel. Yusupov was compliant during this process. While
 6 being escorted down the hallway to the elevator, Yusupov expressed concern for the
 7 welfare of the child he believed was in the hotel room. Ofc. Corcoran explained to
 8 Yusupov that no one else saw a child in the room. Yusupov stated he understood. In the
 9 elevator, Yusupov mentioned he had been involved in some kind of “psychological
10 warfare” during past military service. Yusupov was placed in the ambulance and was
11 taken to Swedish Hospital in Seattle. 3
12       C. Officers Recover Firearms and Ammunition from Yusupov’s Vehicle.
13            Ofc. Corcoran then returned to his patrol vehicle, which was parked in the valet
14 area of the hotel. As he and his partner were beginning to drive away, the hotel valet
15 flagged them down. The valet told the officers that he had parked Yusupov’s car earlier
16 that night and there were firearms inside of the vehicle. Ofc. Corcoran went with the
17 valet to Yusupov’s vehicle, a 2011 Range Rover. Ofc. Corcoran planned to further
18 investigate by looking through the windows of the vehicle. However, as he approached
19 the vehicle, the valet opened the rear passenger door of the car. The valet did this on his
20 own without being asked by Ofc. Corcoran. At that point, Ofc. Corcoran observed
21 multiple tactical style backpacks that appeared as though they could contain firearms.
22 Ofc. Corcoran also saw a long object wrapped in a blanket sticking out of one of the
23 backpacks. He recognized this item to be consistent with the barrel of a rifle.
24
25
26   2
      The SPD reports note that the officers intended to “refer the misdemeanor charge of Violation of a DV Protection
     Order to the court” at a later time.
27
     3
      The SPD Crisis Unit later contacted the hospital and learned that Yusupov was briefly seen by staff and released
28   after a short interview.
      United States v. Yusupov                                                              UNITED STATES ATTORNEY
                                                                                            700 STEWART STREET, SUITE5220
      USAO# 2022R00387
                                                                                             SEATTLE, WASHINGTON 98101
      Complaint - 7                                                                                 (206) 553-7970
              Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 8 of 11




 1          Ofc. Corcoran staffed the matter with his Sargent, and they made the decision to
 2 seize the suspected firearms in order to ensure the safety of the community. The officers
 3 were concerned with leaving potentially dangerous items inside of a luxury vehicle
 4 parked in a publicly accessible garage in downtown Seattle. In particular, the officers
 5 were aware of the current high rate of vehicle prowls in the City of Seattle.
 6          The officers entered the backseat area of the vehicle and seized three backpacks.
 7 The backpacks each contained multiple firearms, including rifles with collapsible stocks
 8 and handguns, as well as firearms magazines, ammunition, and other firearms
 9 accessories. The trunk of the vehicle also contained two long rifles. A subsequent
10 inventory of the contents of Yusupov’s vehicle identified the seized property as: an Aero
11 Precision Model X15 5.56 NATO caliber rifle with serial number (S/N) X287680; a
12 Ruger Model 5.7 5.7x28mm caliber pistol with S/N 641-25677; a Ruger Model 18029
13 Precision 6.5 Creedmoor/.308 Winchester caliber rifle with S/N 1803-29602; a Kel-Tec,
14 Model Sub 2000 9x19mm caliber rifle with S/N FFTT02; an FMK Firearms Model AR-1
15 Extreme 5.56 NATO caliber rifle with S/N FMK45820; a North American Arms Corp.
16 Derringer-type .22LR caliber revolver with S/N B37705; a Polymer80 9mm caliber pistol
17 with no serial number (“ghost gun”); a silver skeletonized AR-15 type 5.56 NATO
18 caliber pistol with no serial number (“ghost gun”); three fully loaded 5.56 NATO caliber
19 Magpul rifle magazines; an empty .308 Winchester rifle magazine; an extended-capacity
20 Glock magazine loaded with 20 live rounds; a bayonet; a machete; a 5.7mm caliber live
21 round; five .22LR caliber live rounds; 90 live 5.56 NATO caliber rounds, including
22 armor-piercing and hollow-point rounds; and 50+ live 9mm rounds (hollow point). Each
23 of these firearms was in immaculate condition and contained several after-market
24 upgrades, such as high-quality optics and other firearms accessories.
25          In addition, officers recovered from the vehicle badges containing Yusupov’s
26 name and photograph; documents relating to Yusupov’s membership in a firearm
27 enthusiast group; and documentation of Yusupov’s proficiency with various weapons
28
     United States v. Yusupov                                            UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE5220
     USAO# 2022R00387
                                                                          SEATTLE, WASHINGTON 98101
     Complaint - 8                                                               (206) 553-7970
              Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 9 of 11




 1 platforms, including multiple handguns and rifles. Inside one of the backpacks, officers
 2 found a shopping list for firearms, food, and provisions one would need to withstand a
 3 prolonged siege or an extended standoff. Officers also recovered gloves; rope; a
 4 flashlight; and bandages.
 5      D. Officers Recover an Additional Firearm in Yusupov’s Hotel Room.
 6          After recovering the firearms from Yusupov’s vehicle, Ofc. Corcoran and other
 7 officers decided to conduct a more thorough search of Yusupov’s hotel room. The
 8 officers were aware that hotel staff would need to clean and prepare the room for other
 9 guests and were concerned that additional dangerous items may be in the room. The
10 officers returned to the room and located another loaded handgun stuffed into the cushion
11 of a chair. The firearm was a North American Arms Corp. Derringer .22 revolver.
12      E. Yusupov is Prohibited from Possessing Firearms under Federal Law.
13          I have obtained and reviewed court records related to the Order for Protection
14 issued in the matter of Yasmeen Judeh vs. Rustam M. Yusupov, in King County Superior
15 Court case number 20-2-02283-7. The Order was issued on March 16, 2020, and was
16 subsequently renewed by the entry of an Order on Renewal of Order for Protection on
17 May 13, 2021. The renewed order is in effect until May 13, 2023.
18          The orders meet all the requirements set forth in 18 U.S.C. § 922(g)(8)(A)-(C),
19 and therefore prohibit Yusupov from possessing a firearm under federal law.
20 Specifically, the court documents establish that, as required by § 922(g)(8), Yusupov
21 received actual notice of the hearings and was present at the hearings either in person
22 (2020) or by telephone (2021); the Orders restrain Yusupov from harassing, threatening,
23 and stalking Yasmeen Judeh, who was found by the court to be a “current or former
24 cohabitant as intimate partner;” and the Orders prohibit the use and threatened use of
25 physical harm and bodily injury against Judeh. The Orders also state that, during the
26 pendency of the orders, Yusupov is prohibited from possessing firearms under both state
27 and federal law.
28
     United States v. Yusupov                                            UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE5220
     USAO# 2022R00387
                                                                          SEATTLE, WASHINGTON 98101
     Complaint - 9                                                               (206) 553-7970
             Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 10 of 11




 1          Along with the original Order for Protection, the court issued an Order to
 2 Surrender Weapons on March 16, 2020. This directed Yusupov to “immediately
 3 surrender” any firearms he possessed. Yusupov personally signed the Order to Surrender
 4 Weapons, acknowledging receipt of the Order. When the court renewed the Order for
 5 Protection, it also ordered Yusupov to surrender any firearms in his possession on or
 6 before May 19, 2021.
 7          On May 18, 2021, a King County Sheriff’s Office Deputy served Yusupov with a
 8 copy of the renewed Order for Protection. At that time, Yusupov told the Deputy that he
 9 had surrendered all his firearms in 2020 (in response to the original Order to Surrender
10 Weapons) and no longer possessed any firearms.
11      F. Interstate Nexus of the Seized Firearms.
12          I am a certified Interstate Firearms and Ammunition Nexus Expert and have been
13 trained in the recognition of firearms and ammunition and their origin of manufacture. I
14 examined all the firearms discussed above and have determined that the following
15 firearms were either not manufactured in the State of Washington or had been shipped in
16 interstate commerce as part of their manufacturing process: FMK Firearms Model AR-1
17 Extreme 5.56 NATO caliber rifle; Aero Precision Model X15 5.56 NATO caliber rifle;
18 Ruger Model 5.7 5.7x28mm caliber pistol; Ruger Model 18029 Precision 6.5mm
19 Creedmoor/.308 Winchester caliber rifle; Kel-Tec Model Sub 2000 9x19mm caliber rifle;
20 and North American Arms Corp. Derringer .22 revolver. In addition, all the above-listed
21 firearms – plus the two seized Polymer80 9mm caliber pistols with no serial numbers and
22 the skeletonized AR-15 5.56 NATO caliber pistol with no serial number (“ghost guns”) –
23 meet the definition of a firearm under Title 18, United States Code, Section 921(a)(3).
24 //
25 //
26 //
27 //
28
     United States v. Yusupov                                            UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE5220
     USAO# 2022R00387
                                                                          SEATTLE, WASHINGTON 98101
     Complaint - 10                                                              (206) 553-7970
              Case 2:22-mj-00137-PLM Document 1 Filed 04/06/22 Page 11 of 11




 1                                        CONCLUSION
 2          Based on the foregoing, I respectfully submit that there is probable cause to
 3 believe that Rustam Yusupov committed the above-referenced offenses.
 4
 5
                                                      Catherine Cole
 6
                                                      Special Agent, ATF
 7
 8          The above agent provided a sworn statement attesting to the truth of the contents
 9 of the foregoing affidavit on the 6th     day of April, 2022. Based on the Complaint and
10 the sworn statement, the Court hereby finds that there is probable cause to believe the
11 Defendant committed the offenses set forth in the Complaint.
12
13
14
                                                      PAULA L. McCANDLIS
15
                                                      United States Magistrate Judge
16
17
18
19
20
21
22
23
24
25
26
27
28
     United States v. Yusupov                                             UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE5220
     USAO# 2022R00387
                                                                           SEATTLE, WASHINGTON 98101
     Complaint - 11                                                               (206) 553-7970
